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                                                     Haslam Law Firm LLC09/26/24
                                                                         Mail - RE: HudsonPage
                                                                                          v. Racer,1  of 10 PageID #: 2241
                                                                                                   et al.



                                                                                               Tyler Haslam <tyler@haslamlawfirm.com>



  RE: Hudson v. Racer, et al.
  1 message

  Stebbins, James C. <jstebbins@flahertylegal.com>                                        Thu, Sep 26, 2024 at 10:54 AM
  To: Tyler Haslam <tyler@haslamlawfirm.com>
  Cc: Kerry Nessel <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, "Burdette, Danica N."
  <dburdette@flahertylegal.com>, Luke Mathis <lmathis538@gmail.com>, Charlotte Dorsey <charlotte@haslamlawfirm.com>,
  Ben Vanston <bvanston@pffwv.com>, Brittany Scott <bscott@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>


    I have not been able to reach him. I am going to try something different today.



    James C. Stebbins
    Member




    Flaherty
    FLAHERTY SENSABAUGH BONASSO PLLC

    P.O. BOX 3843

    CHARLESTON, WV 25338

    OVERNIGHT:


    200 CAPITOL STREET

    CHARLESTON, WV 25301

    PHONE: 304.205.6388

    FAX: 304.345.0260




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    From: Tyler Haslam <tyler@haslamlawfirm.com>
    Sent: Thursday, September 26, 2024 7:17 AM
    To: Stebbins, James C. <jstebbins@flahertylegal.com>
    Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Burdette, Danica N.
    <dburdette@flahertylegal.com>; Luke Mathis <lmathis538@gmail.com>; Charlotte Dorsey
    <charlotte@haslamlawfirm.com>; Ben Vanston <bvanston@pffwv.com>; Brittany Scott
    <bscott@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
    Subject: Re: Hudson v. Racer, et al.



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                                                       CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.


     Jamie,Did you speak with your client? We need to get this done.TylerOn Wed, Sep 25, 2024 at 10:31AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote: I have not heard from my client yet and am in another mediation today. I will try to reach out again to him once we ge ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




    Jamie,



    Did you speak with your client? We need to get this done.



    Tyler



    On Wed, Sep 25, 2024 at 10:31 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                                  I have not heard from my client yet and am in another mediation today. I will try to reach out again to him once we get
                                  situated.



                                  Jamie

                                  Sent from my iPhone




                                                                                                                                 On Sep 25, 2024, at 10:03 AM, Tyler Haslam <tyler@haslamlawfirm.com> wrote:

                                                                                                                                 ﻿


                                                                                                                                                                                           CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.

                                                                                                                                 Jamie,



                                                                                                                                 Do you have any updates?



                                                                                                                                 Thanks.



                                                                                                                                 Tyler



                                                                                                                                 On Tue, Sep 24, 2024 at 11:07 AM Jayne Hudnall <jhudnall@pffwv.com> wrote:

                                                                                                                                                                      Please copy Ben Vanston and Brittany Scott also, please.




                                                                                                                                                                      From: Stebbins, James C. <jstebbins@flahertylegal.com>
                                                                                                                                                                      Sent: Tuesday, September 24, 2024 10:43 AM
                                                                                                                                                                      To: Tyler Haslam <tyler@haslamlawfirm.com>
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-f:1811270839567796989&simpl=msg…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2/10
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                                                     Haslam Law Firm LLC09/26/24
                                                                         Mail - RE: HudsonPage
                                                                                          v. Racer,3  of 10 PageID #: 2243
                                                                                                   et al.
                   Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne
                   Hudnall <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>; Luke
                   Mathis <lmathis538@gmail.com>; Charlotte Dorsey <charlotte@haslamlawfirm.com>
                   Subject: [EXTERNAL] RE: Hudson v. Racer, et al.


                   Tyler:


                   I have reached out to my client to discuss the below but have not heard back from him yet.
                   I am in mediation today but gave him my cell phone so I am hoping he will call me today. I
                   will let you know when I hear from him.


                   Jamie



                   James C. Stebbins
                   Member




                   Flaherty
                   FLAHERTY SENSABAUGH BONASSO PLLC

                   P.O. BOX 3843

                   CHARLESTON, WV 25338

                   OVERNIGHT:

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                   CHARLESTON, WV 25301

                   PHONE: 304.205.6388

                   FAX: 304.345.0260




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                   From: Tyler Haslam <tyler@haslamlawfirm.com>
                   Sent: Friday, September 20, 2024 3:35 PM
                   To: Stebbins, James C. <jstebbins@flahertylegal.com>
                   Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne
                   Hudnall <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>; Luke
                   Mathis <lmathis538@gmail.com>; Charlotte Dorsey <charlotte@haslamlawfirm.com>
                   Subject: Re: Hudson v. Racer, et al.




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                                                                      CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.


                   Jamie,We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting. That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23. Had the internal affairs investigative file been produced prio ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                   Jamie,



                   We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting.
                   That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23.
                   Had the internal affairs investigative file been produced prior to Racer's deposition, we would have
                   asked pointed questions about his orbital fracture and brain bleed. We had no reason to know that the
                   County was allowing Racer to work and to drive while medically compromised.



                   I appreciate the offer to answer written questions, but it will be faster and more effective (particularly
                   with the pending summary judgment deadline) to depose Racer a second time on the issues related to
                   his eye injury. By the time we send you questions and you meet with him and record his answers, we
                   can knock out a deposition. I don't anticipate that it will take more than an hour to an hour and half.
                   We have no problem driving to Dunbar and taking it at the police academy. I don't care to do it at any
                   hour of the night or day. If Racer can sit at 3 AM, I'll be there. I have the entirety of Tuesday,
                   Wednesday, Thursday, and Friday next week available.



                   Please let me know.



                   On Mon, Sep 16, 2024 at 8:46 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                                                Tyler:


                                                It is not my desire to bother the Court with this matter either. Respectfully, you could
                                                have asked Mr. Racer about his orbital fracture when you deposed him the first time and
                                                the right questions were not asked. I don’t think that you ever proposed a protective
                                                order at any time.


                                                Nevertheless, as a compromise, I will offer to permit a deposition of Mr. Racer by written
                                                questions under Rule 31 or I will have my client answer interrogatories targeted at the
                                                issue(s) you describe and I will do what I can to get answers promptly and not take 30
                                                days. Doing one of this things will allow you to get the discovery you want with the least
                                                impact on his training.


                                                Let me know if one of these options works for you.


                                                Best,


                                                Jamie

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                      James C. Stebbins
                      Member




                      Flaherty
                      FLAHERTY SENSABAUGH BONASSO PLLC

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                      CHARLESTON, WV 25338

                      OVERNIGHT:

                      200 CAPITOL STREET

                      CHARLESTON, WV 25301

                      PHONE: 304.205.6388

                      FAX: 304.345.0260



                      FLAHERTYLEGAL.COM




                      From: Tyler Haslam <tyler@haslamlawfirm.com>
                      Sent: Friday, September 13, 2024 4:11 PM
                      To: Stebbins, James C. <jstebbins@flahertylegal.com>
                      Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>;
                      Jayne Hudnall <jhudnall@pffwv.com>; Burdette, Danica N.
                      <dburdette@flahertylegal.com>
                      Subject: Re: Hudson v. Racer, et al.




                                                                         CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.


                      Jamie,Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his orbital fracture and brain bleed.Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by t ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                      Jamie,



                      Racer can and should be deposed a second time, particularly as it relates to the newly discovered
                      information about his orbital fracture and brain bleed.



                      Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective
                      orders promulgated by the Southern District.

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                                                     Haslam Law Firm LLC09/26/24
                                                                         Mail - RE: HudsonPage
                                                                                          v. Racer,6  of 10 PageID #: 2246
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                      We are trying to resolve this without court intervention, and we would like to avoid the unnecessary
                      cost and delay associated with trying to compel his deposition through the court. Given the time
                      constraints placed on depositions by order this week, we will ask the Court to intervene Monday
                      morning if this issue cannot be resolved amicably between now and then.



                      Tyler



                      On Fri, Sep 13, 2024 at 4:00 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                         Kerry:


                         I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily a
                         second time. He is not trying to be difficult but we think that the request is not fair or
                         reasonable for many reasons.


                         First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at
                         9:00 in the morning and when Plaintiff decided to terminate his deposition at 2:15
                         p.m., that was not because of any request by Mr. Racer or his counsel to stop and we
                         would have made him available for the remainder of the afternoon if necessary. We
                         had no discussion at that time that there was any reason to leave the deposition open.


                         Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another
                         deposition so that you can ask him questions about the KCSD investigation report.
                         You have known about the existence of that report since it was first disclosed by the
                         County Defendants in this case in their initial disclosures on July 2. 2024. The
                         disclosures by the County Defendants indicated that the report would be made
                         available to the other parties upon entry of a Protective Order and I do not believe that
                         Plaintiff ever submitted any proposed Protective Order to obtain those documents
                         prior to deciding to take Mr. Racer’s deposition.


                         I would also note that Mr. Haslam already asked Mr. Racer’s questions about that
                         investigation during his deposition.


                         I am also aware of case law holding that if a party chooses to prematurely take a
                         deposition before document discovery is complete, that is not an excuse for subjecting
                         a witness to a second deposition.


                         Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated by
                         the parties.


                         Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police
                         Academy where he hopes to graduate on December 13, 2024. I understand that this
                         training is taxing both mentally and physically and I do not think that it is fair to ask
                         him to prepare for and undergo a deposition (especially a second deposition) while he
                         is in the middle of that training.
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9/26/24, 4:07Case
              PM  3:23-cv-00636            Document 134-16      Filed
                                                     Haslam Law Firm LLC09/26/24
                                                                         Mail - RE: HudsonPage
                                                                                          v. Racer,7  of 10 PageID #: 2247
                                                                                                   et al.



                         Based upon all of the above, I must respectfully decline your request. If you would
                         like to discuss this further, please give me a call.


                         Have a nice weekend everyone.


                         Best,


                         Jamie



                         James C. Stebbins
                         Member




                         Flaherty
                         FLAHERTY SENSABAUGH BONASSO PLLC

                         P.O. BOX 3843

                         CHARLESTON, WV 25338

                         OVERNIGHT:

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                         CHARLESTON, WV 25301

                         PHONE: 304.205.6388

                         FAX: 304.345.0260




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                         From: Kerry Nessel <nessel@comcast.net>
                         Sent: Thursday, September 12, 2024 12:41 PM
                         To: Stebbins, James C. <jstebbins@flahertylegal.com>
                         Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
                         tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
                         Subject: Re: Hudson v. Racer, et al.




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                         Thanks for thorough response.

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                         Sent from my iPhone



                                 On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com>
                                 wrote:

                                 ﻿

                                 Hi Kerry:


                                 I need to look at some things regarding this request and am under a
                                 deadline in another matter today and I also want to try to reach out to my
                                 client about it. I will give you a full response tomorrow even if I am unable
                                 to reach him. I did not want you to think I was ignoring this request since
                                 you asked for an answer ASAP.


                                 Best,


                                 Jamie



                                 James C. Stebbins
                                 Member




                                 Flaherty
                                 FLAHERTY SENSABAUGH BONASSO PLLC

                                 P.O. BOX 3843

                                 CHARLESTON, WV 25338

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                                 To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
                                 <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
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                                 Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




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                                 Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the
                                 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer
                                 and her conclusions.

                                 As the Court entered and order yesterday extending the deposition deadline to
                                 Sept 27 and the recent disclosure, we believe our request is reasonable.

                                 Please let me know ASAP.

                                 Additionally, considering Racer had been brutally battered by no less than 5 men at
                                 a bar and suffered significant physical injuries, including a brain bleed and broken
                                 orbital bone on his left side, we request his medical records concerning the same.

                                 Further, we are willing to travel to the WVSP academy to conduct this deposition.

                                 Finally, please provide us dates for your availability to depose Lt. Pile. I assume this
                                 will have to take place in Chas.

                                 Thanks.

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